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Dear MICHEAL CHARLES, |)!

‘Thank renting eter aan
reseed yee pokey ol inte effect 12:01 am an 02/14/2019. |

month ot
You wil be charged $523.03 immediately Tor yout Be
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‘Freedom Plus Cost inclusive e E
’ Spirit of monthly Med-Sense Dues & Plan Cost
$161.50 per month

‘Total
$523.03

By signing, you acknowledge you have reviewed and understand the detalls of your purchase and the charges related to your purchase.

Applicant Signature: Date:
| Feb 13, 2019

 
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Application
Tell us about yourself... * Requiren FreLo
® First name MICHEAL
* Lact name CHARLES
Lt A

Address line 2 ( Apt # )

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etl A
* Daytime phone number AEA CODE FIRST

 

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Please accept my application for membership in the National Congress of Employers (NCE). 1
and standards of the association as set forth in the Constitution and By-Laws. | und stan

inclusive of dues, administrative
apportioned between the NCE an ,

the NCE and availability of specific benefits may vary by prot
committed to providing the maximum value for my membership and ther
without notice. | also understand that | can cancel my membership in thi

below. I understand and agree that my membership in NCE wi
received by the NCE, that my member benefits are only vailable me
|. membership lapses do to a failure to pay dues will terminate am ns
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COVERAGE SELECTIONS

Maximum Benefit Per
Maximum Period
Effective Date:

Premium Payment Option

Health Eligibility Questions
IMPORTANT: You must answer the questions below as they apply to You HT al othe

coverage.
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iH [ understand that short term health insurance is not a substitute for comprehensive major medical insurance.

 
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MEMRER APPLICANT SIGNATIIRE

ck here | ae
f to Sgn | | | Feb 13, 2019
SPOUSE SIGNATURE DATE

 

SIGNED BY AMERICAN FINANCIAL LIFE INSURANCE COMPANY AGENT | DATE
Ashley Eastlack 02-13-2019

 

 

 

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AEA

FEDERAL INSURANCE COMPANY
202 Hall’s Mill Road, P.O. Box 1600, Whitehouse Station, New Jersey 08889

Enrollment Form — Voluntary Accident Insurance

POLICYHOLDER: Med-Sense Guaranteed Association POLICY NUMBER: 9907-71-53

|Enrollee Full Name: MICHEAL CHARLES

 

Address:

 

 

 

Coverage Description:

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Premium Information:

 

Election Option
Enrollee Only

 

 

 

 

 

 
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Med-Sense Guaranteed Association

* Please verify your understanding that you are purchasing a membership in the Med-Sense

Guaranteed Association. As a member of this association, you are entitled to many benefits
such as Sprint, ID resolution, floral discounts, gym America, vitamin discounts, car rental, and car
perks.

You understand that you are not required to purchase Freedom Spirit Pius and there are
MSGA plan memberships available that do not Include Freedom Spirit Pius: Please
email info@medsensemembers.com to inquire about purchasing a stand-alone membership.

NOTICE OF CONSENT TO ELECTRONIC INATU iD. NTS |
consent to use of electronic signatures of documents, which would otherwise only be valid if
they were in writing. | understand that MyBenefitsKeeper will rely on my signature as consent
to receive the documents electronically unless | revoke this consent. | can update my
information or revoke this consent at any time by calling MyBenefitsKeeper Customer Service
Center at 1-844-792-6985 or emailing to: 5upport@mybk.com, If you decide to withdraw
your consent, the legal validity and enforceability of electronic transactions and signatures
used prior to the withdrawal will not be affected. | may request specific documents at no cost in:
paper form at any time without revoking this consent. | agree to review the
application produced by this voice signature carefully to ensure my understanding of all

provisions of the coverape-

Applicant Signature: jc) jee) “8

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